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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                             CASE NO. 2:23-cr-20015-001

ISAAC BISHOP CHARLES                                                          DEFENDANT

                                          ORDER

       The Court ADOPTS the report and recommendation (Doc. 25) entered in this case and

accepts Defendant’s plea of guilty to Count 1 of the superseding indictment. The Defendant is

hereby adjudged GUILTY of the offense.

       IT IS SO ORDERED this 26th day of January 2024.


                                                         /s/P. K. Holmes ΙΙΙ
                                                         P.K. HOLMES III
                                                         U.S. DISTRICT JUDGE
